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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           (Greenbelt Division)


KILMAR ARMANDO ABREGO                         Civil No.: 8:25-cv-00951-PX
GARCIA et al.,

              Plaintiffs,                     DEFENDANTS’ MOTION FOR
                                              MODIFIED SCHEDULE
       v.

KRISTI NOEM, Secretary of Homeland
Security, et al.,

              Defendants.



                       MOTION FOR A MODIFIED SCHEDULE

      Defendants request that the Court modify its Amended Preliminary

Injunction, ECF No. 41, to allow Defendants a reasonable period of time to evaluate

the Supreme Court’s order. The Supreme Court entered its order partially granting

and partially denying Defendants’ stay application after business hours last night.

See Abrego Garcia v. Noem, 25A949, 604 U. S. ____ (2025) (filed Apr. 10, 2025). This

Court’s order followed several hours later.

      The initial deadline contained in the Amended Preliminary Injunction, which

requires Defendants to provide the Court with a plan for diplomatic engagement a

mere 30 minutes into the business day following the Supreme Court’s decision last

night, is inconsistent with the Supreme Court’s instruction that this Court “clarify

its directive[] with due regard for the deference owed to the Executive Branch in the

conduct of foreign affairs.” Id. at 2 (emphasis added). That deference requires that
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the Executive be given a meaningful opportunity to review the Supreme Court’s

decision before it is ordered to report what steps it will take in response to that

decision. It would also be impracticable for Defendants to comply with the Court’s

9:30AM deadline only a few hours after the Supreme Court issued an order in this

case. The amended preliminary injunction further is inconsistent with the Supreme

Court’s express directive that the compliance “deadline in the challenged order is no

longer effective.” Id.

       Defendants propose that the Court modify its order to allow Defendants until

5:00 p.m. on Tuesday, April 15, 2025, to submit its supplemental declaration, and to

reschedule any hearing on this matter until Wednesday, April 16, 2025.



                                          Respectfully Submitted,

                                          Yaakov M. Roth
                                          Acting Assistant Attorney General
                                          Civil Division

                                          /s/ Drew C. Ensign
                                          Drew C. Ensign
                                          Deputy Assistant Attorney General
                                          Office of Immigration Litigation
                                          950 Pennsylvania Avenue
                                          Washington, DC 20530
                                          Phone: (202) 514-2000
                                          Email: drew.c.ensign@usdoj.gov

                                          Ernesto Molina
                                          Deputy Director
                                          Office of Immigration Litigation
                                          Counsel for Defendants
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                               Tarra DeShields (Bar No. 07749)
                               Assistant United States Attorney
                               U.S. Attorney’s Office, District of MD
                               36 S. Charles Street, Fourth Floor
                               Baltimore, MD 21201
